Case 2:18-cv-01844-GW-KS Document 239 Filed 07/17/19 Page 1 of 5 Page ID #:11401



 1   COOLEY LLP                           PAUL HASTINGS LLP
 2   HEIDI L. KEEFE (178960)              Yar R. Chaikovsky (SB# 175421)
     (hkeefe@cooley.com)                  yarchaikovsky@paulhastings.com
 3   MARK R. WEINSTEIN                    Philip Ou (SB# 259896)
 4   (193043)                             philipou@paulhastings.com
     (mweinstein@cooley.com)              David Okano (SB# 278485)
 5   MATTHEW J. BRIGHAM                   davidokano@paulhastings.com
 6   (191428)                             1117 S. California Ave.
     (mbrigham@cooley.com)                Palo Alto, CA 94304
 7   3175 Hanover Street                  Phone: (650) 320-1800
 8   Palo Alto, CA 94304-1130             Fax: (650) 320-1900
     Telephone: (650) 843-5000
 9   Facsimile: (650) 849-7400            Attorneys for Defendant Snap Inc.
10
     Attorneys for Defendants
11   FACEBOOK, INC., WHATSAPP
12   INC., and INSTAGRAM, LLC
13
14
                             UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16
     BLACKBERRY LIMITED,                        Case Nos. 2:18-cv-01844;
17                                              2:18-cv-02693 GW(KSx)
18                       Plaintiff,
                                                DEFENDANTS’ NOTICE AND
19           v.
                                                CONSOLIDATED MOTION FOR
20 FACEBOOK, INC., WHATSAPP INC.,               SUMMARY JUDGMENT OF INVALIDITY
                                                UNDER 35 U.S.C. § 101 (U.S. PATENT
21 and INSTAGRAM LLC,                           NOS. 8,296,351, 8,676,929, AND
22                       Defendants.            9,349,120)
23 _________________________________            Hearing Date: August 29, 2019
24                                              Time: 8:30 A.M.
     SNAP INC.,
                                                Place: Courtroom 9D
25
                         Defendant.
26                                              Assigned to the Hon. George H. Wu
27
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     Case Nos. 2:18-cv-01844;                                    NOTICE OF MSJ INVALIDITY
                                            1                      ’351, ’929, ’120 PATENTS
     2:18-cv-02693 GW(KSx)
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 1
 2           PLEASE TAKE NOTICE that on August 29, 2019, at 8:30 a.m., or as
 3   soon as the matter may be heard, in this Court, located at United States
 4   Courthouse, 350 West First Street, Los Angeles, CA, 90012, Courtroom 9D, 9th
 5   Floor, Defendants Facebook, Inc., WhatsApp Inc., and Instagram, LLC
 6   (collectively, the “Facebook Defendants”) and Snap Inc. (“Snap”) will and
 7   hereby do move to dismiss U.S. Patent Nos. 8,296,351 and 8,676,929, under 35
 8   U.S.C. § 101. The Facebook Defendants further will and hereby do move to
 9   dismiss U.S. Patent No. 9,349,120, under 35 U.S.C. § 101.1
10           This motion is based upon this notice, the accompanying consolidated
11   memorandum of points and authorities,2 the declaration of Heidi L. Keefe (and
12   accompanying exhibits), the declaration of David Okano (and accompanying
13   exhibits), the Statement of Uncontroverted Facts and Conclusions of Law in
14   Support of Defendants’ Motion for Summary Judgment of Invalidity, the
15   proposed order, and upon such other and further matters, papers, and arguments
16   as may be submitted to the Court.
17           This motion is made following the conference of counsel pursuant to L.R.
18   7-3, which took place on June 21, 2019.
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       Twitter has filed a motion to dismiss under 35 U.S.C. § 101, which includes
     the same patents (the ’351, ’929, and ’120 patents), and is noticed for a hearing
23
     on August 29, 2019. BlackBerry v. Twitter, No. 2-19-cv-1444 (C.D. Cal.) (Wu,
24   J.) (Dkts. 38, 39).
     2
       The Facebook Defendants filed a motion for summary judgment of the ’351
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     and ’929 patents at Dkt. 226, and a motion for summary judgment of the ’120
26   patent at Dkt. 229. Snap filed a motion for summary judgment of the ’351 and
27   ’929 patents at Dkt. 227. The Court ordered the parties to file a consolidated
     motion on the ’351, ’929, and ’120 patents, and set the hearing for August 29,
28   2019. (Dkt. 231.)
     Case Nos. 2:18-cv-01844;                                      NOTICE OF MSJ INVALIDITY
                                               2                     ’351, ’929, ’120 PATENTS
     2:18-cv-02693 GW(KSx)
Case 2:18-cv-01844-GW-KS Document 239 Filed 07/17/19 Page 3 of 5 Page ID #:11403



 1   Dated: July 17, 2019               RESPECTFULLY SUBMITTED,
 2
 3
                                        /s/ Heidi L. Keefe
 4
                                        COOLEY LLP
 5
                                        HEIDI L. KEEFE (178960)
 6                                      (hkeefe@cooley.com)
                                        MARK R. WEINSTEIN (193043)
 7
                                        (mweinstein@cooley.com)
 8                                      MATTHEW J. BRIGHAM (191428)
                                        (mbrigham@cooley.com)
 9
                                        3175 Hanover Street
10                                      Palo Alto, CA 94304-1130
                                        Telephone: (650) 843-5000
11
                                        Facsimile: (650) 849-7400
12
                                        COOLEY LLP
13
                                        MICHAEL G. RHODES (116127)
14                                      (rhodesmg@cooley.com)
                                        101 California Street, 5th Floor
15
                                        San Francisco, CA 94111-5800
16                                      Telephone: (415) 693-2000
17                                      Facsimile: (415) 693-2222

18                                      Attorneys for Defendants
19                                      FACEBOOK, INC., WHATSAPP INC.,
                                        and INSTAGRAM, LLC
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     Case Nos. 2:18-cv-01844;                                NOTICE OF MSJ INVALIDITY
                                          3                    ’351, ’929, ’120 PATENTS
     2:18-cv-02693 GW(KSx)
Case 2:18-cv-01844-GW-KS Document 239 Filed 07/17/19 Page 4 of 5 Page ID #:11404



 1
 2 Dated: July 17, 2019
 3
 4                                   By /s/ Yar R. Chaikovsky

 5                                      PAUL HASTINGS LLP
                                        YAR R. CHAIKOVSKY (SB# 175421)
 6
                                        yarchaikovsky@paulhastings.com
 7                                      PHILIP OU (SB# 259896)
                                        philipou@paulhastings.com
 8
                                        DAVID OKANO (SB# 278485)
 9                                      davidokano@paulhastings.com
10                                      1117 S. California Avenue
                                        Palo Alto, California 94304
11                                      Telephone: 1(650) 320-1800
12                                      Facsimile: 1(650) 320-1900

13                                      CHAD J. PETERMAN (Pro Hac Vice)
                                        chadpeterman@paulhastings.com
14                                      200 Park Avenue
15                                      New York, New York 10166
                                        Telephone: (212) 319-6000
16                                      Facsimile: (212) 319-4090
17
                                        THOMAS ZACCARO (SB# 183241)
18                                      thomaszaccaro@paulhastings.com
19                                      515 South Flower Street
                                        Twenty-Fifth Floor
20                                      Los Angeles, California 90071
21                                      Telephone: (213) 683-6000
                                        Facsimile: (213) 996-3146
22
                                        Attorneys for Defendant
23                                      Snap Inc.
24
25
26
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     Case Nos. 2:18-cv-01844;                                NOTICE OF MSJ INVALIDITY
                                          4                    ’351, ’929, ’120 PATENTS
     2:18-cv-02693 GW(KSx)
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 1                              FILER’S ATTESTATION (C.D. CAL.)
 2           I, Yar R. Chaikovsky, am the ECF user whose ID and password are being used to
 3
     file this DEFENDANTS’ NOTICE AND CONSOLIDATED MOTION FOR SUMMARY JUDGMENT
 4
     OF INVALIDITY UNDER SECTION 101 OF U.S. PATENT NOS. 8,296,351, 8,676,929, AND
 5
     9,349,120. Pursuant to L.R. 5-4.3.4.(a)(2), I hereby attest that counsel for the Facebook
 6
 7   Defendants concurred in the filing of this document.

 8                                                 /s/ Yar R. Chaikovsky
                                                  Yar R. Chaikovsky
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     Case Nos. 2:18-cv-01844;                                                NOTICE OF MSJ INVALIDITY
                                                      5                        ’351, ’929, ’120 PATENTS
     2:18-cv-02693 GW(KSx)
